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Attorney for Defendant
______________________________________________________________________________

                             UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION



 SHANNON ARNSTEIN, et al.                           STIPULATION EXTENDING
                                                    DEADLINE TO RESPOND TO
               Plaintiff,                                 COMPLAINT
                       vs.

 SUNDANCE HOLDINGS GROUP,                            Civil No. 2:24-cv-00344-RJS
 L.L.C.,
                                                     Judge Robert J. Shelby
               Defendant.


       Plaintiffs and Defendant, by and through their undersigned counsel, respectfully file this

stipulation for an extension of time for Defendant to respond to Plaintiffs’ Complaint.

       The current response deadline is June 6, 2024. The Parties have conferred and agreed to

extend the deadline by fourteen days to June 20, 2024.

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED that Defendant’s

deadline to respond to the Complaint shall be June 20, 2024.


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       DATED this 4th day of June 2024,

                                              CAMERON RINGWOOD, LC
                                              By: /s/ Jordan K. Cameron
                                              Jordan K. Cameron
                                              Attorneys for Defendant

So Stipulated:

PETERS | SCOFIELD
By: /s/ David W. Scofield
David W. Scofield
Attorneys for Plaintiffs




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